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    In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                    Filed: May 10, 2018

* * * * * * * * * * * * * *
BRIAN FELTEN,                                  *       No. 15-563V
                                               *
               Petitioner,                     *       Special Master Sanders
                                               *
v.                                             *
                                               *
SECRETARY OF HEALTH                            *       Attorneys’ Fees and Costs; Reasonable
AND HUMAN SERVICES,                            *       Amount Requested
                                               *
             Respondent.                       *
* * * * * * * * * * * * * *
Mark T. Sadaka, Mark T. Sadaka, LLC, Englewood, NJ, for Petitioner.
Glenn A. MacLeod, United States Department of Justice, Washington, DC, for Respondent.

                                            DECISION1

        On June 1, 2015, Brian Felten (“Petitioner”) filed a petition for compensation pursuant to
the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to -34 (2012).
Petitioner alleged that, as a result of an influenza (“flu”) vaccine administered on October 24,
2012, he suffered from transverse myelitis (“TM”). Decision, ECF No. 47. On November 14,
2017, the undersigned issued a decision awarding Petitioner compensation pursuant to the parties’
stipulation. Id.

        On April 20, 2018, Petitioner submitted an application for attorneys’ fees and costs. ECF
No. 53. Petitioner requested $19,442.53 in attorneys’ fees and $705.44 in costs, for a total of
$20,147.97. ECF No. 53-1 at 17-18. Respondent submitted a Response to Petitioners’ motion on
May 4, 2018. ECF No. 54. Respondent indicated that “[t]o the extent the Special Master is treating
[P]etitioner’s request for attorneys’ fees and costs as a motion that requires a response from

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  This decision shall be posted on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913
(codified as amended at 44 U.S.C. § 3501 note (2012)). As provided by Vaccine Rule 18(b), each
party has 14 days within which to request redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential;
or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755. Hereafter,
for ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of
42 U.S.C. § 300aa (2012).
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[R]espondent[,] . . . Respondent is satisfied the statutory requirements for an award of attorneys’
fees and costs are met in this case.” Id. at 2. Respondent recommended that the undersigned
exercise her discretion and determine a reasonable award for attorneys’ fees and costs. Id. at 3.
Petitioner filed his Reply on May 9, 2018. ECF No. 55. He “respectfully request[ed] that this
Court grant the application” in full. Id.

         The undersigned has reviewed the detailed records of time and expenses of Petitioner’s
counsel and finds that they are reasonable. In accordance with the Vaccine Act, 42 U.S.C. § 300aa-
15(e) (2012), the undersigned finds that Petitioner is entitled to attorneys’ fees and costs.
Accordingly, the undersigned hereby awards the amount of $20,147.97,3 in the form of a
check made payable jointly to Petitioner and Petitioner’s counsel, Mark T. Sadaka, of Mark
T. Sadaka, LLC. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court shall enter judgment in accordance herewith.4

       IT IS SO ORDERED.

                                              s/Herbrina D. Sanders
                                              Herbrina D. Sanders
                                              Special Master




3
  This amount is intended to cover all legal expenses incurred in this matter. This award
encompasses all charges by the attorney against a client, “advanced costs” as well as fees for legal
services rendered. Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees
(including costs) that would be in addition to the amount awarded herein. See generally Beck v.
Sec’y of Health & Human Servs., 924 F.2d 1029 (Fed. Cir. 1991).
4
  Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek
review. Vaccine Rule 11(a).

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